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                                           EXHIBIT B

                                          Proposed Order




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 7

UBIOME, INC.,1                                                 Case No. 19-11938 (LSS)

                              Debtor.


        ORDER PURSUANT TO BANKRUPTCY CODE SECTIONS 105(a) 363 AND
     BANKRUPTCY RULE 6004 (I) AUTHORIZING AND APPROVING THE SALE OF
      CERTAIN DE MINIMIS ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
       INTERESTS, AND ENCUMBRANCES; (II) APPROVING ASSET PURCHASE
           AGREEMENT; AND (III) GRANTING OTHER RELATED RELIEF

                       Upon consideration of the certification of counsel (the “COC”) 2 filed by the

chapter 7 trustee (the “Trustee” or “Seller”), to the estates of the above-captioned debtor (the

“Debtor”), pursuant to sections 105(a) and 363 and Bankruptcy Rule 6004, (i) authorizing the

sale (the “Sale”) of the Debtor’s trademarks, domains, and SNS accounts (the “Assets”) on an

“as-is, where-is” basis, free and clear of any and all liens, claims, interests, and encumbrances to

Psomagen, Inc. (the “Buyer”), pursuant to the terms and conditions of that certain Asset

Purchase Agreement (the “APA”) by and between the Trustee and the Buyer, a true and correct

copy of which is attached hereto as Exhibit A, (ii) authorizing and approving the terms of the

APA, and (iii) granting certain related relief; and the Court having reviewed the Certification;

and due and sufficient notice of the Sale having been given under the particular circumstances

through the Notice of Sale of Certain De Minimis Assets (Trademarks, Domains, and SNS

Accounts) (the “Notice”) [Docket No. ____] filed and served on interested parties pursuant to the


1 The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The headquarters
for the above-captioned Debtor was located at 360 Langton Street, Suite 301, San Francisco, CA 94103.

2   Capitalized terms not defined herein shall have the meanings ascribed to them in the COC or Notice, as applicable.

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Court’s Order Granting Motion of Alfred T. Giuliano, Chapter 7 Trustee, for Order Pursuant to

Bankruptcy Code Sections 105(a), 363, and 554(a) and Bankruptcy Rule 2002 Authorizing and

Approving Procedures for the Sale or Abandonment of De Minimis Assets Free and Clear of

Liens, Claims, Interests, and Encumbrances [Docket No. 277]; and the Court finding that: (a) the

Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012, and that this Court may enter a final order consistent with Article III of

the United States Constitution; (b) this is a core proceeding pursuant to 28 U.S.C. §157(b)(2); (c)

notice of the Sale was sufficient and proper under the circumstances; and (d) the Court having

determined that the Sale is in the best interests of the Debtor, its estate, creditors, and other

parties in interest; and after due deliberation thereon, it is hereby,

           ORDERED, ADJUDGED, AND DECREED THAT:

                       1.    Pursuant to sections 105(a) and 363(b) of the Bankruptcy Code, the

Trustee is authorized to sell the Assets pursuant to the terms and conditions of the APA.

                       2.    The APA and related documents, and all of the terms and conditions

thereof, are hereby approved as of the date hereof in all respects and as to all parties.

                       3.    The Trustee, as the Seller, is authorized to consummate the terms of the

APA and to execute any documents and take such actions as may be reasonably necessary to

consummate the APA.

                       4.    Except as expressly permitted or otherwise specifically provided for in the

APA and related documents, or in this Order, pursuant to section 363(f) of the Bankruptcy Code,

the Seller’s interests in the Assets shall be transferred to the Buyer pursuant to the APA and, as

of the Closing Date, shall be free and clear of all liens, claims, interests, and encumbrances (the

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“Liens”) of any kind or nature whatsoever with all such Liens to attach to the net proceeds of the

Sale, subject to the terms of such Liens, with the same validity, force and effect, and in the same

order of priority, which such Liens now have against the Assets subject to any rights, claims, and

defenses of the Debtor or its estate, as applicable, may possess with respect thereto

                       5.    The Buyer is not an “insider” of the Debtor, as that term is defined in

section 101 of the Bankruptcy Code. The transactions contemplated by the APA and any related

documents are undertaken by the Buyer in good faith, as that term is used in section 363(m) of

the Bankruptcy Code and, accordingly, the Buyer is entitled to all of the protections thereunder

and the reversal or modification on appeal of the authorization provided herein to consummate

the Sale shall not affect the validity of the Sale with respect to the Buyer, unless such

authorization is duly stayed pending such appeal.

                       6.    This Order shall be binder on and inure to the benefit of the Buyer, its

affiliates, successors and assigns, and the Debtor’s estate.

                       7.    The consideration provided by the Buyer for the Assets under the APA

shall be deemed to constitute reasonably equivalent value and fair consideration under the

Bankruptcy Code and under the laws of the United States, any state, territory, possession, or the

District of Columbia.

                       8.    The consideration provided by the Buyer for the Assets under the APA is

fair and reasonable and may not be avoided under section 363(n) of the Bankruptcy Code.

                       9.    For the avoidance of doubt, except as otherwise provided in the APA, the

Buyer shall purchase the Assets on an “as-is, where-is” basis, with all faults, and with no

representations or warranties, either written or oral, express or implied, from the Trustee or the

Debtor’s estate. Upon closing, the Buyer shall assume all risks with respect to the Assets and as

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set forth in the APA. Upon Closing and except for the Trustee’s obligations under the APA, the

Buyer shall forever and fully release the Trustee and the Debtor’s estate and its affiliates of any

and all claims (as the terms is defined in section 101(5) of the Bankruptcy Code) which now

exist, may hereinafter exist, or have existed, and are associated with the Assets, including,

without limitation, the condition of the Assets and the enforceability of any rights associated

with Assets.

                       10.   The failure specifically to include any particular provisions of the APA or

any related agreements in this Order shall not diminish or impair the effectiveness of such

provision, it being the intent of the Court, the Trustee, and the Buyer that the APA and any

related agreements are authorized and approved in their entirety with such amendments thereto

as may be made by the parties in accordance with this Order.

                       11.   The Trustee is authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

                       12.   Notwithstanding Bankruptcy Rule 6004, this Order shall be effective and

enforceable immediately upon entry and its provisions shall be self-executing. Time is of the

essence in closing the Sale referenced herein, and the Trustee and the Buyer intend to close the

Sale as soon as practicable in accordance with the terms and conditions of the APA.

                       13.   This Court shall retain exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.




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